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i":"L'L;`L'J

UNITED STATES DlSTRlCT COURT h
MIDDLE DISTRICT oF FLoRIDA »ff-FH UEC 13 im ;U_. 27
ORLANDO DIVISION _ _
Louis l. lloltz, an individual, and Louis J. l-lo|tz, _ n
Inc., a Florida corporation,

VS PIH““'HS’ Ci\/iL ACTloN No.:
_ la`,l?-€l/JQ()D@#WL
. , JUDGE. -
Tlie Dally Beast Coinpany, LLC, a New Yoik § _
limited liability company; lAC/lnterActi\/e€oip., \- iv ii?$

a New York corporation; Tlie YGS Group, lnc.,
a Pennsylvania corporation; and Betsy Woodruff,
an individual,

Defendants.

 

 

COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintif`l`s, Louis J. Holtz (“‘Ml‘. Holtz" or “Coach I‘loltz”), an individual, and
Louis l. Holtz, lnc. (collectively "Plaintil`l`.-‘."), residents ol` Orlando, Florida sue
Defendants, Tlie Daily Beast Company, LLC, a New York limited liability
company (“Daily Beast’), lAC/lnterActi\/e€orp., a New York corporation (“IAC"),
The YGS Group, Inc.1 a Pennsy|vania colporation (“YGS"), and Betsy Woodruff
(“Woodruff”), an individual [collectively "Det`endants”), and allege as l"o|lows:

NA'I`URE OF THE ACTION

l. Tliis is an action l"or defamation, defamation per se, defamation by

implication, trade libel, injurious falseliood, injunctive relietC and violation ol`

Florida Deceptivc and Unfair Trade Practices /-\ct.

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2. This case arises out of the Defendants’ intentional and malicious
defamation of Mr. Holtz, and the misappropriation of the rights and interests of
Mr. Holtz, which the Defendants exploited for their own financial gain without
permission or payment.

THE PARTIES

3. Mr. Holtz is an individual who resides in Orlando, Florida and
conducts his business from offices located in Orlando, Florida. Mr. Holtz is in the
business of public speaking, television, and sports.

4. Louis J. Holtz, Inc. is a Florida corporation which Mr. Holtz utilizes
to conduct business, with its principal place of business in Orlando, Florida.

5. IAC is one the nation’s largest media companies, is publicly traded,
and owns and operates numerous media outlets, including the Daily Beast and
YGS which conduct business in the State of Florida, specifically publishing and
directing their products and communications to residents of Florida. IAC is a
foreign corporation registered to do business in Florida,

6. Upon information and belief, IAC, directly or through a subsidiary
owns the fictitious name and trademark “Daily Beast” and owns all of the Daily

Beast’s and YGS’s assets.

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7. IAC has been or is also the general manager of and owns or owned,
controls or controlled, and conducts or conducted business in Florida by and
through the Daily Beast, YGS and Woodruff in Florida,

8. The Daily Beast and YGS are owned and operated by IAC which has
a registered agent in Florida.

9. Upon information and belief, Woodn,ifl", is a reporter for the Daily
Beast, a resident of Washington D.C., published the article which defamed Mr.
Holtz in Florida and is employed by_. and supervised and directed by, the Daily
Beast, YGS and IAC,

10. The popularity and profitability of the Daily Beast is largely derived
from marketing edgy and controversial material. The Dailybeast.com statement of
its “Code of Ethics and Standards" proudly states that “Tiie Daily Beast is
dedicated to independent journalism, pursued without fear or favor” and that “A
core part of our mission is to confront bullies, bigots and hypocrites." The "`code”
goes on to state that “Factual errors require correction and acknowledgment by an
editor at the end of the story.”

Il. Woodrufi` is described on thedailybeast.com as she "is a political
reporter for the Daily Beast...” and that "you can follow her on Twitter
@woodruffbets.” I-ler ernail address is listed as

betsy.woodrul"l"@thedai lvbeast.com.

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12. The Defendants operate the following websites and Twitter accounts
which are published in, and directed to, the state of Florida:
a) thedailybeast.com;
b) dailybeastfacebook.com;
c) YGS.com;
d) @woodruftbets, with an estimated 56,800 followers; and
e) @thedailybeast, with an estimated one million followers.
13. Plaintiffs allege that for purposes of the claims and allegations herein,
IAC, the Daily Beast, YGS, Woodruff and their affiliates, not all of whom are
known at this time, are, and all times material hereto, were principals and agents of
one another, the alter-egos of each other, with a unity of interest and ownership
among them and their subsidiaries and affiliates such that any separateness has
ceased to exist. For purposes of the claims and allegations herein, IAC, the Daily
Beast, YGS, Woodruff and their affiliates used the assets of the other for its/their
separate, individual purposes; transferred valuable assets, property rights and/or
interests to each other without adequate consideration; share common ownership;
have financial dependency upon each other; have significant control over each
other’s marketing, finances, and policies; share and/or file joint financial
statements; and have interrelated activities such that any purported corporate

separation is merely formal and technical. Consequently, for purposes of the claims

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and allegations herein, IAC, the Daily Beast, YGS, Woodruff and their affiliates
bear joint and several liability for the wronghil acts of one another, and are
vicariously liable for the wrongful actions of their employees, agents and
subsidiaries as alleged herein.

Jurisdiction and Venue

14. This Court has jurisdiction because this Complaint seeks damages in
excess of $ 75,000.00.

15. The issue in controversy involves a dispute between parties who are
residents of different states of the United States.

16. Venue is proper before in this district pursuant to 28 U.S.C. § l39l(b)
because Plaintiffs reside in, or transact business in, this district and the events and
wrongful actions giving rise to the claims occurred in, and were directed to
Plaintiffs residing in, this district.

17. Defendants’ acts and electronic communications into Florida were
expressly aimed at Plaintiffs in Florida, knew that their actions would cause harm
because Plaintiffs live and work in Florida, and Defendants entered into the State
of Florida to commit the tortious acts complained of herein, including injuring
Plaintiffs’ business, reputation and occupation.

18. Defendants’ internet postings in the state of Florida constitute

continuous, systematic and substantial general business contacts, and the material

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posted by Defendants was accessible and accessed in Florida by Plaintiffs and
others, subjecting Defendants to jurisdiction pursuant to Fla. Stat. § 48.193(1)(2).
Defendants regularly use reporters in Florida, author and publish articles that are
aimed at a Florida audience, and Defendants derive revenues from Florida-based
advertising clients.

19. Defendants purposely availed themselves of the privilege of
conducting activities in Florida, should have known or reasonably anticipated that
their repeated defamatory statements published in Florida would harm Plaintiffs in
Florida and could subject Defendants to litigation in this Court’s jurisdiction.

Defendants should have reasonably anticipated being hailed into court in the state
of Florida,
General Allegations

20. Coach Holtz is acknowledged to be one of the most well-known and
beloved coaches in American history.

21. Mr. Holtz is a nationally recognized motivational speaker, football
coach, and sports analyst. Mr. Holtz was formerly a football coach of many major
universities including the University of Notre Dame and the University of South
Carolina. Mr. Holtz has been given honorary degrees from the University of Notre
Dame, the University of South Carolina, Trine University and the Franciscan

University of Steubenville. Mr. Holtz has been inducted in the Cotton Bowl Hall of

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Farne and was elected to the Arkansas Sports Hall of Fame and the Upper Ohio
Valley Hall of Fame. Mr. Holtz is without question one of the best known
commentators on college football in the country. Mr. Holtz currently derives the
majority of his income through speaking engagements Mr. Holtz has an agent,
who is responsible for securing speaking engagements for Mr. Holtz throughout
the country and in the state of Florida.

22. Defendants began a public assault on Mr. Holtz and his public
speaking business during the last presidential campaign in the spring of 2016. The
articles were clearly antagonistic to Mr. Holtz and malicious, rather than
journalistic or mere expressions of opinion. These articles, when considered with
the false and defamatory articles that would follow, constitute express malice, ill
will, hostility and an evil intention to defame and injure:

-“Lou Holtz Backs Trump, Gave to Hillary” (Daily Beast, May 2, 2016)
-“Shouty Old White Coaches Heart Donald Trump” (Daily Beast, Jack

Moore, May 3, 2016)

23. On July 19, 2016, Mr. Holtz was invited by Phyllis Schlafiy’s Eagle
Trust Fund to speak at a luncheon event at the Republican National Convention in
Cleveland, Ohio. The purpose of the speech Was to support the “small group of
dedicated pro-life individuals gathered to fight for the lives of unborn babies, and

they gave the dignity of life a new home.” Mr. Holtz delivered the speech and

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during the course of the speech, Mr. Holtz delivered a message that is
characteristic of his style of speaking. Mr. Holtz gave interesting personal stories,
entertained the guests with jokes, and ultimately voiced his personal opposition to
abortion, as was the stated intent of the speech, while making positive and unifying
statements about all people. Mr. Holtz stated, “l love President Obama as a father,
as a husband, as a role model. You cannot deny that. He’s done it with class”; and
“That’s what we need in this country. We need this country to understand other
people and to care about them.”

24. During the speech, Mr. Holtz spoke about the challenges of being
born in the depression with little resources Mr. Holtz talked about how his parents
had received no more than a third grade education. And, Mr. Holtz talked about
how his family lived in a small apartment in a cellar for 7 '/z years. Mr. Holtz
talked about how proud he was to be born in the United States. Significantly, Mr.
Holtz spoke about how he had many opportunities available to him here in the
United States that he might not have in other places. Mr. Holtz talked about how he
learned that if he could work hard, make good choices, and get an education, he
would have many opportunities During the course of his speech, Mr. Holtz
stressed that young people should make good choices, do the right thing, stay in

school, not do drugs, and not join gangs.

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25. During the speech, Mr. Holtz talked about his opposition to abortion.
Mr. Holtz expressed his wish to save the lives of children who were innocent and
could not speak for themselves The overwhelming majority of Mr. Holtz speech
was related to abortion and the choices that an unborn child could not make. Mr.
Holtz talked about how he and others should continue to speak for these unborn
children who could not speak for themselves

26. At the very end of the speech, there was a brief discussion of
immigration. During that time Mr. Holtz talked about his grandparents who
immigrated to the United States from the Ukraine, and their entry through Ellis
Island. Mr. Holtz talked about how his grandparents spoke Ukrainian and how Mr.
Holtz tried to learn the language as a child. In the speech, when Mr. Holtz
described how he asked his grandparents to teach him the Ukrainian language and
his grandparents refused to do so. Instead, Mr. Holtz described how his
grandparents told him that he did not live in Ukraine and that he only needed to
learn how to speak English because he lived in the United States.

27. During his speech, Mr. Holtz invited immigrants to come to the
United States legally like his grandparents did and Mr. Holtz invited immigrants to
assimilate like his family had assimilated. At the end of the immigration
discussion, there was a joke made about soccer, a joke that you would expect to

hear from a lifelong football fan, football coach, and football commentator.

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28. Mr. Holtz’s grandparents were immigrants, who worked hard and
could never be classified as “deadbeats”. Mr. Holtz has the utmost respect for his
grandparents and all immigrants who follow the law and find the American dream
in this country. The substance or gist of Mr. Holtz’s statements was not that all
immigrants are “deadbeats.”

29. On July 19, 2016, Defendants published an article with the headline
“Lou Holtz at RNC Said lmmigrants are Deadbeats Invading the US.” Internet
references to the article are attached as Exhibit A. In the HTML source code, the
term “deadbeats” was included more than 20 times for emphasis This headline
was completely false. Under no circumstance did Mr. Holtz ever make the headline
statement A review of the transcript from the speech reveals that there is clearly
no such statement at any time and the implication of the headline was false and
contrary to the gist of his actual message.

30. On July 19, 2016, Defendants published in the article that Mr. Holtz
claimed that incorrectly states the gist of Mr. Holtz’s statements and Defendants’
characterization creates a defamatory implication. During the course of the speech,
Mr. Holtz stated what his grandmother told him, which was “you don’t live in
Ukraine, you live here, you learn to speak English. That’s the only language you
need to know.” Mr. Holtz in fact stated “They come here. WELCOME.” This

calculated omission, like the false headline, misstates what the gist of what Mr.

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Holtz stated in his speech and created a false impression by its use of the
demeaning, inflammatory and pejorative word “deadbeat”- generally defined as a
disreputable person who evades paying their debts

31. The speech on July 19, 2016 related largely to the lives of the unborn
and contained statements such as “We are here to speak for the unborn child”...
“we are the voice for that unborn child that can’t speak for itself”; “I think that we
have an opportunity to serve the women of this country, by supporting them, by
encouraging them, and by educating them, and that takes an awful lot of hard
work”; and “Significant is when you help other people, particularly other people
that can’t help themselves.” These statements like the one Mr. Holtz made
complimenting President Obama, were omitted from the article. Defendants’
article juxtaposed a series of facts and false statements so as to create a defamatory
implication and insinuated that Mr. Holtz’ speech was mean spirited and related to
bashing immigrants This is not accurate.

32. There are imbedded in the article additional offensive defamatory
statements about Mr. Holtz, First, the web address for the article that Defendants
published on July 19, 2016 includes the following statement “Lou - Holtz -Goes -
On - Immigrant - Bashing _ Rant.” This is not a mere opinion, but a false
statement of what happened during Mr. Holtz’s speech. Mr. Holtz did not go on an

“immigrant bashing rant.” Second, the source code of the web page is embedded

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with 20 references to the word “deadbeat”. This resulted in more harm to Mr.
Holtz since it linked Mr. Holtz’s name to this defamatory statement when third
parties search out Mr. Holtz for business purposes Furthermore, when one moves
their cursor over Mr. Holtz face on Mr. Charles Luzier’s photograph in the article
the term “170719-lou-holtz-cheat” materializes. This is direct evidence of the
malicious intent with Which Defendants published this article.

33. Defendants’ website states that “the Daily Beast now reaches over 26
million readers per month”, and these readers could access the article and the
weblogs which contained defamatory statements designed to expose Mr. Holtz to
public contempt, hatred, ridicule and disgrace and injure Mr. Holtz in his business,
occupation, and in the community.

34. The individual statements contained in the posts, when taken as a
whole, inculpate Mr. Holtz and his company with moral turpitude and charge Mr.
Holtz with unfitness and lack of integrity in the performance of his businesses

35. Defendants authored and published statements knowing they were
false, or were defamatory by implication, and were made with reckless regard to
their truth, created a false impression and were made with the intent to harm
Plaintiffs’ business reputation.

36. Defendants utilized electronic communications to publish the

defamatory article in the state of Florida for the purposes of maliciously damaging

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Mr. Holtz for sensational reasons and their own profit. Defendants intended that
the story they published about Mr. Holtz would likely be republished and
retweeted by their tens of thousands of followers, including in the state of Florida,
In fact, Defendants routinely use the republication opportunities for marketing of
publication and articles

37. After Defendants published these false statements many other news
outlets republished the comments, and specifically the false “deadbeats” statement,
including in the state of Florida. For example, the website awfulannouncing.com
republished Defendants’ article in its entirety which was directed to, accessible in,
and accessed in, the state of Florida, And, the New York Daily News also
republished Defendants’ statements Defendants’ comments and characterization
of the speech were published in the Washington Post, LA Times, Sports Illustrated,
and many other national and local publications which were published in the state of
Florida,

38. Mr. Holtz’s representatives contacted Defendants to attempt to resolve
this dispute amicably. Mr. Holtz wrote a letter to the editor in chief, Mr. John
Avlon, on August 15, 2016, but Mr. Avlon never responded lnstead, an attorney
for the Daily Beast emailed Mr. Holtz’s attorney on September 12, 2016 that he
was “investigating the matter” and would “get back as soon as . . . in a position to

do so.” Mr. Holtz then followed up on September 20, 2016 and a representative of

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Defendants emailed stating he hoped “to be in a position to get back to [Mr. Holtz]
soon.” On October 4, 2016, Mr. Holtz contacted Defendants again demanding a
retraction and had his attorneys send a letter on October 6, 2016, Defendants’
representative responded on October 11, 2016 that they apologized for “taking so
long to respond”, and that “The Daily Beast has decided to remove the word
“deadbeats” from the headline in question. The headline was updated in this way
on October 7, and a note was placed under the headline describing the change and
the nature of the mistake, stating that Mr. Holtz did not call immigrants
“deadbeats” and expressing sincere regrets for this error.” The email further stated
that “The Daily Beast apologizes to Mr. Holtz for this error and is happy to correct
it.”

39. The updated article continued to bear the false and malicious headline
“Holtz Goes on Immigrant -Bashing RNC Rant”, followed by a photo and any
introductory paragraph before this statement is made: “UPDATE 10/7/16: The
headline on this story has changed. The original headline conflated two points that
Mr. Holtz made in his speech- the need for immigrants to learn English, and the
group of Americans, whom Mitt Romney in 2012 infamously labeled the “47%,”
who, Holtz stated, make their living by the way they vote. But Holtz did not say

that immigrants are “deadbeats”, and we sincerely regret this error.”

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40. Thus, almost three months passed while the malicious false and
damaging statement remained published in the public eye and accessible in Florida
on the intemet. Notably, Woodruff, the author of the false and defamatory
statement, never apologized and went silent notwithstanding that Mr. Holtz’s
attomeys’ letter was also addressed to her. Woodruff has over 56,000 Twitter
followers including in the state of Florida, but did not state that she was mistaken
in her “quote” of Mr. Holtz on her Twitter account.

41. On August 24, 2016, the Defendants caused even more damage by
publishing, including in Florida, another article directed to Plaintiffs’ commercial
interests entitled “Texas HS to Rescind Lou Holtz Speaking lnvite”, an article
authored by “Bye Trumpkin”, and stated the reason for the cancellation as
“because of his recent comments about immigrants” and stated that another paper,
picking up on Defendants’ theme, stated that Mr. Holtz had “lobbed hate filled
rhetoric at immigrants” This article made no effort to clarify that the “recent
comments” did NOT include that the false statement that immigrants were
deadbeat, nor that the Daily Beast had retracted the deadbeats headline and
apologized.

42. Many other notable news outlets piled on and parroted Defendants’

words and theme literally or their gist:

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-“...the Daily Beast reported that Holtz...unleashed a random tirade
about immigrants . .” New York Daily News (nydai|ynews.com);
-“Trump-Supporting Football Coach Denounces Immigrants in Racist

Speech” ( Think Progress, July 20, 2016);

-“Notre Dame Must Distance Themselves from the Lou Holtz Brand”

(thesportsbank.net);

-“Lou Holtz Getting Destroyed for Controversial Comments at GOP

Convention”(fansided.com).

43. Numerous news outlets with tens of thousands of readers republished
and quoted Woodruff and the Daily Beast and published links to the original article
- for example, USA Today and Washington Post articles on July 19, 2016, and
sports outlets such as Bleacher Report, fansided.com, sportsonearth.com,
Tallahassee.com, satanicapitalist.com (. . .Holtz Says Immigrants are Deadbeats. . .),
soundcloud.com (“Lou Holtz at RNC Says Immigrants are Deadbeats...”),
truecload552.weebly.com (“ ...Immigrants are Deadbeats...”), memorandum.com
(“Betsy Woodruff/The Daily Beast: Lou Holtz at RNC Says Immigrants Are
Deadbeats Invading the U.S.”), nymag.com (“Betsy Woodruff reports that the
coach did not bother couching his beliefs about immigration...”), etc. These

articles are still being published and are accessible on the intemet in Florida,

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44. Pursuant to §770.01 of the Florida Statues, before a civil action is
brought for libel or slander, Mr. Holtz had his attorney serve notice in writing on
Defendants specifying the article or broadcast and the statements therein which he
alleged to be false and defamatory. A letter was provided to Defendants in
accordance with §770.01 of the Florida Statues. The identity of the defamatory
article and the specific statements were detailed in the letter:

Defamatog[ Article: July 19, 2016, Betsy Woodruff, The Daily Beast,

“Lou Holtz at RNC Says Immigrants Are Deadbeats Invading the US”

published at http://www.thedailvbeast.com/cheats/ZOl6/07/19/lou-

holtz-goes-on-immigrant-bashingrant-at-
rnc.html?via=desktop&source=copvurl and all republication, which

was reasonably foreseeable;

False and Defamatorv Statements: Holtz says immigrants are

deadbeats; Holtz goes on immigrant bashing rant, Holtz’s speech was

related to immigration, Holtz said that immigrants needed to become

us and speak English; Lou Holtz is a cheat.

45. Among the damages incurred by Plaintiffs are damages that accrued
from the loss or cancellation of speeches including speeches in the state of Florida,
and a loss of speaking fees alter Plaintiffs and their agents were contacted to cancel
scheduled appearances The cancellations damaged Plaintiffs’ Florida business
interests as well as caused mental anguish and suffering, personal humiliation and
distress from the barrage of hurtful, embarrassing and menacing statements For

example, headlines such as “Lou Holtz getting destroyed for

comments..”(fansided.com), Lou Holtz Under Fire. . .”(complex.com), and twitter

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comments on Woodruff’s Twitter account incited by Woodruff - “fascist,”
“xenophobic racist”, “bigot”, “senile”, “drunk”, “awful person.” “racist bastar ,”
etc. Woodruff’s tweets were accessible and accessed in Florida, her Twitter
followers include residents of Florida and some retweeted Woodrust article.
Exhibit B, Excerpts from Woodrust Twitter account.

46. Woodruff had ample opportunity to fact check her false headline
before publishing them to the world. A Woodruff Twitter follower asked her
BEFORE Defendants published the story, “are you planning to publish a story on
Holtz’s speech?”, to which Woodruff answered, “yes indeed,” to which her
follower responded “I’m on standby, will link.” Other twitter followers
questioned her on the accuracy of her reporting and the gist of Mr. Holtz’s intent -
“did he really say that Betsy?”; and “obviously a jesting comment....” Woodruff
had time to reflect, or edit her story to include the positive statements Mr. Holtz
made about immigrants helping women and President Obama, and Woodruff had
time to ensure that her statements were not incomplete, misleading or created a
false impression Woodrust and Defendants’ failure to do so evidences actual
and express malice, ill will and hostility with an intention to injure.

47. After Defendants published the false statements and on the same day,
other Woodruff Twitter followers continued to question Woodruff’s accuracy:

“true? Citation?”, to which Washington post reporter Mike Madden replied, “It

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doesn’t need a citation, she’s attending a speech he’s giving.” Other followers
asked, “did he really say that?” But Defendants did not make a full and fair
correction of the false statements make an apology or issue a retraction, for the
statements which were published or broadcast in Florida.

48. Plaintiffs further allege that discovery may reveal whether other
Defendants should be added by amendment to this Complaint.

49. Defendants posted the false statements and implications to lure
advertisers to advertise on their sites so as to obtain income.

50. In addition to being damaged personally by defamation, Mr. Holtz’s
business of exploiting his valuable publicity rights has been damaged and exploited
by Defendants Beginning in approximately 1975, Mr. Holtz created a good
reputation, valuable publicity rights and a trade name.

51. Mr. Holtz has at all material times hereto owned the real and personal
estates and effects of “Coach Lou Holtz”, including the exclusive right to exploit
his publicity rights and to give consent to any license of such.

52. For Defendants’ own profit and advantage Defendants have
misappropriated Plaintiffs’ publicity rights without consent or payment.

53. Defendants’ misappropriation of Plaintist publicity rights has
enhanced Defendants’ readership and market recognition, and Defendants have

profited from the exploitation of Plaintiffs.

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54. In addition, Defendants’ actions statements and implications are
highly offensive to a reasonable person to an important, substantial and respectable
part of the community, have damaged Plaintiffs’ reputation and the ability to
obtain work. Defendants’ publication in Florida was made accessible to members
of the community in a manner which makes it proper to assume it would have
reached them, including those with which Plaintiffs had personal, social, official or
business relations

55. Upon information and belief, Plaintiffs allege that as a direct and
proximate cause of Defendants’ wrongful conduct, Defendants have realized and
continue to realize benefits rightfully belonging to Plaintiffs.

56. As a result of Defendants’ actions for the purpose of commercial
advantage, disparagement or private financial gain, Plaintiffs were forced to retain
the law firm of Morgan & Morgan, P.A., agreeing to pay reasonable attorneys’ fees
for its legal services and costs

57. All conditions precedent to the commencement and prosecution of
this action and the granting of the relief requested have been performed, satisfied,
excused or waived.

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DEFAMATloN

58. This is an action in equity for damages in excess of $75,000.00.

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59. Plaintiffs re-allege and incorporate herein by reference Paragraphs l
through 57, above.

60. Defendants made false statements regarding Mr. Holtz in the
performance of his businesses

61. Defendants published the statements directed to the state of Florida
and to the general public via the world-wide intemet.

62. Defendants’ publication of the false and injurious statements were not
subject to any available publication or legal privilege.

63. Defendants’ false and injurious statements exposed Plaintif`fs to
distrust, hatred, contempt, ridicule and/or obloquy.

64. Defendants’ false and injurious statements have the tendency to, and
did, in fact, injure Plaintiffs’ reputation and business

65. Defendants’ false and defamatory statements harmed Plaintiffs’
reputation so as to lower Plaintiffs in the estimation of the community and to deter
third persons from associating or dealing with Plaintiffs.

66. As a result of Defendants’ actions Plaintiffs have been damaged.

67. Defendants’ statements were made in bad faith, with knowledge of
their falsity or reckless disregard of the truth or falsity of the statements and were

not an honest mistake of facts

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68. Defendants made their false statements with actual malice toward Mr.
Holtz with the specific intent to damage and harm Plaintiffs and their profession.

69. As a result of Defendants’ actions Plaintiffs have been harmed.

WHEREFORE, Plaintiffs demand judgment for compensatory and
consequential damages damages for emotional distress and personal humiliation,
including exemplary and punitive damages together with prejudgment interest
thereon, and all interest and costs due under Florida law against Defendants and
such other relief as the Court deems fair and reasonable

M
DEFAMATION PER sE

70. This is an action in equity for damages in excess of $75,000.00.

7l. Plaintiffs re-allege and incorporate herein by reference Paragraphs 1
through 57, above.

72. Defendants made the false statements about Mr. Holtz which are per
se injurious as they accuse Mr. Holtz of behavior inconsistent with his profession.

73. 'I`he nature of the false statements are such that malice and actual
damage are presumed because Defendants imputed to Mr. Holtz characteristics or
a condition incompatible with the exercise of Mr. Holtz’s lawful trade and
profession.

74. Defendants published the false statements to third parties via posting

the statements on the world-wide intemet and directed to the state of Florida.

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75. The falsity of these statements injured Plaintiffs’ reputation in the
business community.

76. As a result of these false statements Plaintiffs have suffered damage.

WHEREFORE, Plaintiffs demand judgment for compensatory and
consequential damages damages for emotional distress and personal humiliation,
including exemplary and punitive damages together with prejudgment interest
thereon, and all interest and costs due under Florida law against Defendants and
such other relief as the Court deems fair and reasonable.

COUNT Ill
DEFAMATION BY IMPLICATION

77. This is an action in equity for damages in excess of $75,000.00.

78. Plaintiffs re-allege and incorporate herein by reference Paragraphs l
through 57, above.

79. Defendants made false statements or statements which when
juxtaposed with other statements facts or omissions created a false impression,
regarding Mr. Holtz, and regarding Plaintiffs in the performance of their business

80. Defendants published the statements directed to the state of Florida
and to the general public via the world-wide internet, which was accessible to and
accessed by Plaintiffs and others in Florida.

81. Defendants’ publication of the false and injurious statements were not

subject to any available publication or legal privilege.

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82. Defendants’ false and injurious statements exposed Plaintiffs to
distrust, hatred, contempt, ridicule and/or obloquy.

83. Defendants’ false and injurious statements have the tendency to, and
did, in fact, injure Plaintiffs’ reputation and business

84. Defendants’ false and defamatory statements harmed Plaintiffs’
reputation so as to lower Plaintiffs in the estimation of the community and to deter
third persons from associating or dealing with Plaintiffs

85. As a result of Defendants’ actions Plaintiffs have been damaged.

86. Defendants’ statements were made in bad faith, with knowledge of
their falsity or reckless disregard of the truth or falsity of the statements and were
not an honest mistake of facts

87. Defendants made their false statements with actual malice toward
Plaintiffs with the specific intent to damage and harm Plaintiffs and their
profession.

88. As a result of Defendants’ actions Plaintiffs have been harmed.

WHEREFORE, Plaintiffs demand judgment for compensatory and
consequential damages damages for emotional distress and personal humiliation,
including exemplary and punitive damages together with prejudgment interest
thereon, and all interest and costs due under Florida law against Defendants and

such other relief as the Court deems fair and reasonable

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COUNT lV
INJURIOUS FALSEHOOD - TRADE LIBEL

89. This is an action in equity for damages in excess of $75,000.00.

90. Plaintiffs re-allege and incorporate herein by reference Paragraphs l
through 57, above.

91. Defendants made false statements about Mr. Holtz’s businesses and
disparaged the nature and manner in which the Plaintiffs conduct business

92. Defendants published the untrue statements to third parties through
posting the statements over the world-wide intemet.

93. Defendants knew that the false statements were likely to influence
prospective users of Plaintiffs’ businesses to avoid Plaintiffs businesses

94. The false statements materially and substantially induced third parties
not to utilize Plaintiffs businesses and not to contract with Plaintiffs

95. As a result of the Defendants publishing the false statements to third
parties Plaintiffs have suffered pecuniary loss in the form of lost business revenues
and business contracts

WHEREFORE, Plaintiffs demand judgment for compensatory and
consequential damages damages for emotional distress and personal humiliation,
including exemplary and punitive damages together with prejudgment interest
thereon, and all interest and costs due under Florida law against Defendants and

such other relief as the Court deems fair and reasonable.

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COUNT V
INJUNCTlVE RELIEF

96. This is an action in equity for temporary and permanent injunctive
relief.

97. Plaintiff re-alleges and incorporates herein by reference Paragraphs 1
through 57, above.

98. Based on the facts set forth herein, Plaintiffs have a substantial
likelihood of success on the merits of the asserted causes of action.

99. Plaintiffs do not have an adequate remedy of law.

100. Monetary damages are inadequate to protect the present and future
business interests and reputation of Plaintiffs

101. Injunctive relief would provide a benefit to, and is in the interests of,
the public, as it would deter defamation, libel and other actionable conduct through
the Internet.

WHEREFORE, Plaintiffs demand a temporary and permanent injunction
against Defendants enjoining Defendants from hosting, posting, or in any manner
publishing or disseminating any defamatory or injurious information relating to the
Plaintiffs

COUNT VI

VlOLATION OF FLORIDA DECEPTIVE AND
UNFAIR TRADE PRACTICES ACT - §501.204 FLORIMSTATUTES

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102. This is an action by Plaintiffs under the Florida Deceptive and Unfair
Trade Practices Act (“FDUTPA”) §§ 501.201 et seq., Florida Statutes

103. Plaintiffs re-allege and incorporate herein by reference Paragraphs l
through 57, above.

104. FDUTPA renders unlawful “unfair methods of competition,
unconscionable acts or practices and unfair or deceptive acts or practices in the
conduct of any trade or commerce” provided to consumers See Section
501.204(1), Fla. Stat. (2017).

105. At all relevant times Defendants advertised, solicited, provided,
offered, and distributed goods and services by developing, owning, and operating
web sites and news outlets for consumers and thus were engaged in “trade or
commerce” as defined in § 501 .203(8), Fla. Stat. (2017).

106. At all relevant times Defendants advertised, solicited, provided,
offered, and distributed news stories entertainment and services for consumers
and thus were engaged in “trade or commerce” as defined in § 501.203(8), Fla.
Stat. (2017).

107. At all relevant times Defendants’ unfair practices regarding the use,
exploitation, commercial disparagement and trade libel of Plaintiffs’ interests were

immoral, unethical, oppressive, unscrupulous substantially injurious to Plaintiffs

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108. Under FDUTPA, unconscionable, unfair, and deceptive acts or
practices in the conduct of trade or commerce are unlawful. §501.204(1), Fla. Stat.

109. Anyone aggrieved by a violation of FDUTPA may bring an action for
declaratory relief against the entity that has violated the act. § 501 .21 l(l), Fla. Stat.

llO. In any action by a party that has suffered a loss as a result of a
violation of FDUTPA, such a person may recover actual damages attomeys’ fees
and court costs under § 501.211(2), Fla. Stat.

lll. By publishing defamatory statements about Plaintiffs for a
commercial or advertising purpose without Plaintiffs’ consent, Defendants are
engaging in business practices that are unconscionable, unfair, and deceptive
because they offend established public policy and are immoral, unethical,
oppressive, unscrupulous and substantially injurious to consumers Plaintiffs
experienced Defendants’ unconscionable, unfair, and deceptive business practices
which were committed in the conduct of commerce or trade.

112. As a direct and proximate result of Defendants’ actions Plaintiffs
have been harmed.

WHEREFORE, Plaintiffs demand judgment that Defendants be enjoined for
any further publication. Further, Plaintiffs demand judgment against Defendants
for compensatory and consequential damages including exemplary damages

together with prejudgment interest thereon, and all interest and costs due under

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Florida law, and such other relief as the Court deems fair and reasonable, including
an award of Plaintiffs’ attomeys' fees and costs
RELIEF REQUESTED

A. Award Plaintiffs damages both compensatory and punitive, against
Defendants;

B. Grant a permanent injunction against Defendants enjoining
Defendants from hosting, posting, or in any manner publishing or disseminating,
whether in their legal identity or under any aliases whether now created or created
in the future, any defamatory or injurious information relating to Plaintiffs;

C. Order Defendants to remove from the lntemet and any other media, of
any kind or nature, all actionable statements posted or published against Plaintiffs;

D. Award Plaintiffs fees and costs incurred with the prosecution of these
actions; and

E. Award Plaintiffs such other and further relief as this court deems just
and proper.

DEMAND FOR JURY TRIAL

Plaintiff demands a jury trial on all issues so triable.
Dated: December 12, 2017

Respectfully Submitted,

Morgan & Morgan, P.A.
Business Trial Group

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